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                                        8   NATIONAL UNION FIRE INSURANCE
                                            COMPANY OF PITTSBURGH, PA
                                        9
                                       10                         UNITED STATES DISTRICT COURT
                                       11           CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
Gordon Rees Scully Mansukhani, LLP




                                       12
                                            WESTERN RIVERSIDE COUNCIL                 Case No. 5:20-cv-02164- GW (KKx)
   633 West Fifth Street, 52nd floor




                                       13   OF GOVERNMENTS, a California
       Los Angeles, CA 90071




                                            Joint Powers Authority; CITY OF
                                       14   BEAUMONT, a public entity in the          NOTICE OF SETTLEMENT OF
                                            State of California,                      ENTIRE ACTION
                                       15
                                                                      Plaintiffs,     Judge: Honorable George H. Wu
                                       16
                                                  v.
                                       17
                                            NATIONAL UNION FIRE
                                       18   INSURANCE COMPANY OF
                                            PITTSBURGH, PA, and DOES 1
                                       19   through 50, inclusive,
                                       20                             Defendants.
                                       21
                                       22
                                            TO THE COURT, EACH PARTY AND THE ATTORNEYS OF RECORD
                                       23
                                            FOR EACH PARTY HEREIN:
                                       24
                                                  Plaintiffs Western Riverside Council of Governments and City of Beaumont
                                       25
                                            and Defendant National Union Fire Insurance Company of Pittsburgh, Pa.
                                       26
                                            (collectively, the “Parties”) have reached a settlement in the above-captioned matter.
                                       27
                                            The Parties anticipate that the settlement will be fully documented within the next
                                       28
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                                                                       NOTICE OF SETTLEMENT
                               Case 5:20-cv-02164-GW-KK Document 127 Filed 10/20/22 Page 2 of 4 Page ID #:9150



                                        1   30-45 days. Once that occurs, the Parties will file a stipulation for dismissal, with
                                        2   prejudice, each party to bear its own fees and costs.
                                        3         The Parties request that all court dates be stricken, including the Final
                                        4   Pretrial Conference and Trial, currently set for October 27, 2022 and November 8,
                                        5   2022, respectively, pending dismissal of this case.
                                        6
                                        7   Dated: October 20, 2022                   GORDON REES SCULLY
                                        8                                             MANSUKHANI LLP

                                        9
                                                                                By: /s/ Scott L. Schmookler
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                                       16                                           National Union Fire Insurance
                                       17                                           Company of Pittsburgh, Pa.
                                       18   Dated: October 20, 2022                    BEST BEST & KRIEGER LLP
                                       19
                                                                                By: /s/ Christopher E. Deal
                                       20                                           Jeffrey V. Dunn (SBN: 131926)
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                                                                                    Christopher E. Deal (SBN: 186754)
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                                                                                    Attorneys for Plaintiffs
                                       28
                                                                                     -2-
                                                                       NOTICE OF SETTLEMENT
                               Case 5:20-cv-02164-GW-KK Document 127 Filed 10/20/22 Page 3 of 4 Page ID #:9151



                                        1                                SIGNATURE ATTESTATION
                                        2
                                        3         Pursuant to Local Rule 5-4.3.4, I hereby attest that all signatories listed above,

                                        4   on whose behalf this stipulation is submitted, concur in the filing’s content and have
                                        5   authorized the filing.
                                        6
                                             Dated: October 20, 2022                    GORDON REES SCULLY
                                        7                                               MANSUKHANI LLP
                                        8
                                        9                                               By: /s/ Scott L. Schmookler
                                       10                                                  DINA GLUCKSMAN
                                                                                           SCOTT L. SCHMOOKLER
                                       11
                                                                                           MEAGAN VANDERWEELE
Gordon Rees Scully Mansukhani, LLP




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                                                                                            Attorneys for Defendant
                                       14                                                   National Union Fire Insurance
                                                                                            Company of Pittsburgh, Pa.
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                                                                       NOTICE OF SETTLEMENT
                               Case 5:20-cv-02164-GW-KK Document 127 Filed 10/20/22 Page 4 of 4 Page ID #:9152



                                        1                             CERTIFICATE OF SERVICE
                                        2         The undersigned hereby certifies that on October 20, 2022, a true and correct
                                        3   copy of the foregoing was electronically filed with the Clerk of Court using the
                                        4   CM/ECF system, which will automatically send email notification of such filing to
                                        5   all counsel of record, as follows:
                                        6
                                        7                       Jeffrey V. Dunn, State Bar No. 131926
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                                        8                       Christopher E. Deal, State Bar No. 186754
                                        9                       chris.deal@bbklaw.com
                                                                Aryan Vahedy, State Bar No. 323802
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                                       15                       Attorneys for Plaintiffs

                                       16
                                                                                           GORDON REES SCULLY
                                       17
                                                                                           MANSUKHANI LLP
                                       18
                                       19                                           By: /s/ Scott L. Schmookler
                                                                                        Scott L. Schmookler
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                                                                        NOTICE OF SETTLEMENT
